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                                 UNITED STATES ll15rK1Ci COURT
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                                             t VT DIVISION



UNITED STATES EX REL. BRIDCETTE
BECK JACOBS
                                                                    CIVIL ACTION NO.
                Plaintiff,
                                                                   1 98-CV-13 4 6
                           v.                                       Jury Trial Requested

PATROL SERVICES, INC., ANDREW W.                                    TO BE FILED                   ,r^,R, ~t..~ .~C
BRYAN, MICHELLE D. BRYAN,                                           /N CAMER.9
ATLANTA HOUSING AUTHORITY,                                          AND UNDER SEAL
DOMINNM MANAGEMENT
CORPORATION

                Defendants .



                                            COMPLAINT


        Plaintiff=Relator Bridgette Beck Jacobs ("Relator") hereby tiles the following Complaint

and alleges as follows :


                                    JURISDICTION AND VENUE


l . This action arises under the False Claims Act, as amended, 31 U.S .C . §§ 3729-3733, and at

    common law.

2 . This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C . § 3732(a)

    and 28 U.S.C . § 1345 .

3 . This Court has personal jurisdiction over the Defendants .
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     U .J .L, . Q 4 %5%(g) HL Ie251 one Defendant can be IUUIIU, ICSIUCS, HIIU transacis business within



     the district, and the acts proscribed by the False Claims Act occurred within the district .




                                            THE PARTIES


5. Plaintiff Relator Bridgette Beck Jacobs is a citizen of the United States and worked for

     Patrol Services, Inc .

6.   Defendant Patrol Services, Inc. (PSI) is a private company and is a private sub-contractor for

     the Atlanta Housing Authority .

7. Defendant Andrew W. Bryan is an owner and employee of Patrol Services, Inc.

8. Defendant Michelle D. Bryan is an owner and employee of Patrol Services, Inc .

9 . Defendant Atlanta Housing Authority ("AHA") is government funded organization .

10 . Defendant Dominium Management Corporation is a private company and is an appointed

     contractor of the Atlanta Housing Authority




                                       STATEMENT OF FACTS




11 . This action concerns serious acts of governmental fraud by Patrol Services, Inc., a private

     sub-contractor for the Atlanta Housing Authority and its appointed private contractor,

     Dominium Management Corporation. The fraud appears to be in the area of invoicing and

     billing.




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12 . Aii invoicing was calculated . submitted and si .Qned by the owners . Andrew 1N . Brvan and/or

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   order to induce a higher payment from the government . Almost all of the invoices submitted


   by Patrol Services, Inc. to governmental agencies were false or fraudulent . This may have

   included contracts acquired during the 1996 Olympics from the Atlanta Housing Authority

   and sub-contracting contracts by Patrol Services, inc . through agencies receiving funds from

   the Environmental Protection Agency .

13 . Defendants' fraud includes the following:

    (a) Failure to reflect the actual number of hours worked for each employee;

    (b) Terminated employees listed as currently working;

    (c) Double billing of employee time - individuals who actually worked for another company

          or governmental agency contract by PSI were submitted for billing on the same dates and

          times as this company billed .4HA ;

    (d) Ghost Employees - names made up to reflect names similar to current employees;

    (e) Submitting invoices for more employee hours than the actual number worked.




                                                               COUNT I
                                                  Violation of 31 U.S.C. § 3729(a)(1)


14 . Relator hereby incorporates and re-alleges herein Paragraphs 1-13 as if fully set forth herein .

15 . As set forth above, Defendants by and through their agents, officers and employees,

    knowingly presented, caused to be presented, or conspired to present to an officer or

    employee of the United States numerous false or fraudulent claims for payment or approval, in

    violation of 31 U .S .C . § 3729(a)(1).



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I o . The United States has been aamaeea as a result of Defendants' violations or the raise Claim


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11 . Kelator is entitled to this sum as reimbursement for movies obtained by the Defendants for

   fraudulent claims submitted to the United States .

18 . Relator is entitled to treble damages based upon the amount of damage sustained by the

   United States as a result of Defendants' violations of s i u.S .C . g s72y(a)(i )-(3 ) .

19. Relator is entitled to a civil penalty of between $5,000 and $10,000 as required by 31 U.S .C.

       3729(a) for each of Defendants' fraudulent claims .

20. Realtor is also entitled to reasonable attorney fees and costs, pursuant to 31 U.S .C . §

    3730(d)(1) .

                                                                                   COUNT II
                                  CONSPIItACY TO DEFRAUD THE UNITED STATES


21 . Plaintiff=Relator Bridgette Beck Jacobs hereby incorporates and re-alleges, herein paragraphs

    1-20 as if fully set forth herein .

22 . Defendants have agreed to undermine the laws, rules, and regulations governing Housing and

    Urban Development funds and the United States .

23 . Defendants have conspired with each other and others to defraud the government by acting

    collectively to submit or cause to be submitted false and fraudulent claims for payment to the

    United States in violation of 31 U .S.C . § 3729(a)(3) .

24 . The United States has been damaged as a result of Defendants' actions in violation of 31

    U.S.C . § 3729(a)(3) in an amount to be proven at trial .

25. Relator is entitled to treble damages based upon the amount of damage sustained by the

    United States as a result of Defendants' violations of 31 U .S.C . § 3729(a)(1)-(3) .



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27 . icOiH[Or is 3150 entiUCa to t'e850n8bIC attorney's fees 3t14 costs, pursuant to .i 1 U.S .C . a


    3750(d)(1).

                                              COUNT III
                                        WRONGFUL TERMINATION


28. Plaintiff Relator hereby incorporates and realleges herein Paragraphs 1-27 as if fully set forth

    herein.

29. Defendant Patrol Services, Inc. terminated Plaintiff Relator Jacobs in express violation of 31

    U.S .C . § 3730(h).

30 . Pursuant to this statute, PlaintifF Relator lacobs is entitled to be reinstated at the same level of

     seniority she would have enjoyed absent this termination; an award of two times the amount of

     back pay due plus interest; compensation for special damages ; and litigation costs and reasonable

     attorney fees.

                                            PRAYER FOR RELIEF


          WHEREFORE, PlaintifF Relator Bridgette Beck Jacobs prays for judgment'.

          (a) ordering Defendants to pay the United States Government damages sustained by it for

 each of the false claims presented or caused to be presented plus interest, attorney's fees, and

 costs;

          (b) ordering Defendants to pay the United States government a civil penalty of $10,000 as

 required by law to be assessed against each named Defendant for each of the false claims

 presented or caused to be presented;




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           (cj ordering treoie damages based upon the amount of damages sustained by the mired

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           (d)         ordering Defendant ratroi services, inc. to reinstate riaintitt-tceiator with the ievei or

seniority she would have but tbr the termination, award two times the amount of back pay due to

Plaintiff=Relator Jacobs plus interest; compensate PlaintitFRelator for special damages resulting from

the discrimination, and utigation costs and reasonable attorney tees in an amount to be determined at

trial; and

           (e) granting such other relief as the Court may deem just and proper .




                                                                            Respectfully submitted,



                                                                                           lam"" -'"
                                                                            MIKE BOT}-IWELL
                                                                            Georgia Bar No. 069920
                                                                            Counsel for Relator Bridgette Beck Jacobs
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Telephone: (770) 643-1606
